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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------X
UNITED STATES OF AMERICA,

                          Plaintiff,
                                                                           ORDER

        v.                                                                 05-CR-188 (NGG)

TYRONE HUNTER,

                           Defendant.
---------------------------------------------------------X
GARAUFIS, United States District Judge.

        WHEREAS Attorney Anthony J. Colleluori has made an ex parte application dated

August 10, 2005 requesting that the court approve his appointment as CJA Counsel to Defendant

Tyrone Hunter,

        IT IS HEREBY ORDERED that Anthony J. Colleluori is appointed CJA counsel to the

Defendant Tyrone Hunter. This appointment is nunc pro tunc to the date of application, August

10, 2005.



SO ORDERED.


Dated: September 30, 2005                                    ________/s/_____________
       Brooklyn, N.Y.                                        NICHOLAS G. GARAUFIS
                                                             United States District Judge
